         Case 4:11-cv-00097-CDL Document 94 Filed 04/01/13 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                   COLUMBUS DIVISION

STANLEY TELLEZ, Individually and by and             *
through his Conservator of his estate, MARIA
RAMIREZ,                                            *
                                                        Case No. 4-11-cv-97 (CDL)
                      Plaintiff,                    *
v.
                                                    *
Doctor JOSEPH CERAVOLO, NORTH
COLUMBUS EYE CENTER, P.C., and Doctor               *
TITUS PAYNE,
                                                    *
                  Defendants.
___________________________________                 *


                                       JUDGMENT

       Pursuant to the jury verdict dated March 29, 2013, and for the reasons stated therein,

JUDGMENT is hereby entered in favor of Defendants. Plaintiff shall recover nothing of

Defendants. Defendants shall also recover costs of this action.

        This 1st day of April, 2013.

                                             Gregory J. Leonard, Clerk


                                             s/ Timothy L. Frost, Deputy Clerk
